                UNITED STATES DISTRICT COURT
               EASTERN DISTRICT OF WISCONSIN

 UNITED STATES OF AMERICA,

                             Plaintiff,
 v.                                                    Case No. 14-CR-99-JPS

 DEVON M. HOWARD and
 CAMRON J. JACKSON,                                                    ORDER

                             Defendants.

       On December 30, 2016, the Court issued a trial scheduling order setting
a final pretrial conference for March 28, 2017, and a jury trial for April 3, 2017.
(Docket #260). On March 16, 2017, defendant Devon M. Howard requested
that both dates be continued for at least a month. (Docket #271). He makes
this request in light of his counsel’s need for additional time to review
discovery materials and another client’s state court trial beginning on March
27, 2017. Id. Defendant Camron J. Jackson made a similar request on March
20, 2017, citing newly produced discovery in this case and his counsel’s state
court trial beginning March 27, 2017. (Docket #273).
       The Court sees no reason to move the hearings at this juncture. As
counsel is well aware, both this case and the state court cases, like so many
others, may be resolved short of trial. This case has been pending since April
2014, and the uncertain possibility of a scheduling conflict is not enough to
warrant delaying it any further. The hearings shall therefore remain as
scheduled. All other aspects of the trial scheduling order remain in effect,
including the need to produce a pretrial report.
       If any defendants still wish an adjournment of the trial, their request
will be addressed at the final pretrial conference. If it becomes absolutely
certain that the state court cases will proceed to trial, and that counsel will
thus be completely unable to attend the final pretrial conference in this case,


Case 2:14-cr-00099-JPS         Filed 03/21/17     Page 1 of 2     Document 275
counsel should notify the Court and it will consider an appropriate
scheduling adjustment.
      Accordingly,

      IT IS ORDERED that the defendant Devon M. Howard’s motion to

continue (Docket #271) be and the same is hereby DENIED; and

      IT IS FURTHER ORDERED that the defendant Camron J. Jackson’s

motion to adjourn (Docket #273) be and the same is hereby DENIED.

      Dated at Milwaukee, Wisconsin, this 21st day of March, 2017.

                                BY THE COURT:




                                J.P. Stadtmueller
                                U.S. District Judge




                              Page 2 of 2
Case 2:14-cr-00099-JPS    Filed 03/21/17    Page 2 of 2   Document 275
